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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

 DISH NETWORK L.L.C.,                             §
                                                  §
          Plaintiff,                              § Civil Action No. 4:17-cv-01618
                                                  §
     v.                                           §
                                                  §
 SHAHJAHAN DURRANI, d/b/a ZemTV,                  §
 and ADAM LACKMAN, d/b/a                          §
 www.tvaddons.ag, www.tvaddons.org,               §
 www.streamingboxes.com, and                      §
 www.offshoregit.com
                                                  §
                                                  §
          Defendants.                             §

          Plaintiff DISH Network L.L.C.’s Application for Clerk’s Entry of Default
                           Against Defendant Shahjahan Durrani
       Pursuant to Fed. R. Civ. P. 55(a), Plaintiff DISH Network L.L.C. (“DISH”) respectfully

requests that the Clerk enter default against Defendant Shahjahan Durrani (“Durrani”) with regard

to the allegations in DISH’s first amended complaint (Dkt. 10).

       On November 7, 2017, Durrani was personally served with a copy of the summons, DISH’s

first amended complaint (Dkt. 10), and Order for Conference and Disclosure of Interested Parties
(Dkt. 4), by a person authorized to effect service of Judicial Process according to the laws of

England & Wales. (Dkt. 19.) Service in this manner was proper under Fed. R. Civ. P. 4(f)(2).

       Durrani filed a motion to dismiss on January 5, 2018. (Dkt. 24.) Durrani’s motion to

dismiss was denied on April 19, 2018. (Dkt. 29.) Durrani was required to file a responsive

pleading within 14 days of the denial of his motion to dismiss, which was May 3, 2018. See Fed.

R. Civ. P. 12(a)(4)(A). To date, Durrani has not filed an answer or other responsive pleading or

requested additional time to do so. (Declaration of Stephen Ferguson ¶ 3.) Durrani is not a minor,

incompetent, or exempt under the Servicemembers’ Civil Relief Act. (See Dkt. 24-1, Declaration

of Durrani ¶¶ 1-2.) Accordingly, the Clerk should enter default against Durrani.
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Dated: May 18, 2018

                                                     Respectfully submitted,

                                                     HAGAN NOLL & BOYLE LLC

                                              By: s/ Stephen M. Ferguson
                                                  Stephen M. Ferguson (attorney-in-charge)
                                                  Texas Bar No. 24035248
                                                  Southern District of Texas Bar No. 614706
                                                  Two Memorial City Plaza
                                                  820 Gessner, Suite 940
                                                  Houston, Texas 77024
                                                  Telephone: (713) 343-0478
                                                  Facsimile: (713) 758-0146

                                                     Joseph H. Boyle (of counsel)
                                                     Texas Bar No. 24031757
                                                     Southern District of Texas Bar No. 30740

                                                     Counsel for Plaintiff DISH Network L.L.C.


                                      Certificate of Service

       I hereby certify that on May 18, 2018, a true and correct copy of the foregoing document

was filed electronically with the Clerk of the Court, using the CM/ECF system, which sent

notification of such filing to all CM/ECF participants in this case.

                                                        s/ Stephen M. Ferguson
                                                       Stephen M. Ferguson




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